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                              United States District Court
                                        for the
                              Southern District of Florida

  Chenming Zhou, Plaintiff,              )
                                         )
  v.                                     )
                                         ) Civil Action No. 22-24013 -Civ-Scola
  The Individuals, Partnerships and      )
  Unincorporated Associations Identified )
  on Schedule A, Defendants.             )
              Order Adopting Report and Recommendations and
          Entering Final Default Judgment and Permanent Injunction
        The Court referred Plaintiff Chenming Zhou’s renewed motion for final
 default judgment (ECF No. 131) to United States Magistrate Judge Jonathan
 Goodman for a report and recommendations. Judge Goodman issued his report,
 recommending that the Court grant Zhou’s motion. (Rep. & Rec., ECF No. 138.)
 Although no objections have been filed, and the deadline to object has passed,
 the Court has nonetheless considered Judge Goodman’s report on a de novo
 basis. After reviewing the report, the record, and the relevant legal authorities,
 the Court finds Judge Goodman’s report and recommendations thorough,
 cogent, and compelling. The Court thus adopts the recommendations in full
 (ECF No. 138) and grants Zhou’s renewed motion for default judgment (ECF No.
 131) awarding damages and entering an injunction as set forth below.
        The Court enters final default judgment in Plaintiff Chenming Zhou’s
 favor in the amount of the greater of $250 or the amounts restrained in the
 e-commerce accounts (totaling $145,163.92), as recommended by Judge
 Goodman, against the Defaulting Defendants listed in Exhibit A to this order.
 The Court also adopts Judge Goodman’s recommendation as to permanent
 injunctive relief and orders as follows:
    (1) Each Defaulting Defendant, their officers, directors, employees, agents,
        subsidiaries, distributors, and all persons in active concert or
        participation with any Defaulting Defendant having notice of this order are
        hereby permanently restrained and enjoined from using Zhou’s patent,
        United States Design Patent, No. US D 955,664S (hereinafter the “Patent”),
        including in marketing, advertising, soliciting, or display, derivative or
        directly, which is not directly authorized by Zhou.
    (2) Each Defaulting Defendant, its officers, directors, employees, agents,
        subsidiaries, distributors, and all persons in active concert or
        participation with any Defendant and those with notice of this permanent
        injunction, including, without limitation, all financial institutions,
        payment processors, banks, escrow services, money transmitters, or
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       marketplace platforms, including but not limited to AliExpress, Amazon,
       Ebay, Joom, Wish, DHGate and Walmart, sponsored search engine or ad-
       word providers, credit cards, banks, merchant account providers, third
       party processors and other payment processing service providers, and
       internet search engines such as Google, Bing and Yahoo (collectively, the
       “Third Party Providers”) and their related companies and affiliates on
       which this Court imposed restraints under the preliminary injunction
       shall (A) immediately and permanently discontinue the use of Zhou’s
       Patent, on or in connection with all internet based e-commerce stores
       owned and operated, or controlled by them, including the internet based
       ecommerce stores operating under the Seller IDs and (B) apply any funds
       currently in the Defaulting Defendants’ financial accounts to satisfy the
       monetary judgments.
      The Court directs the Clerk to close this case. Any pending motions are
 denied as moot.
       Done and ordered in Miami, Florida on November 2, 2023.

                                           _________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
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                                    Exhibit A

         Def
         No.     Defendant                                 Award
               4 WOOFEELL US                           $             286.22
               7 WENTING-US                            $           1,890.53
               5 Gebang                                $           1,775.98

           13 xindianpu001                             $           32,993.57
           14 Tripocleen                               $             649.77
           20 DANLAZA                                  $           1,731.95
           21 Pehome                                   $             470.21
           27 XGATML                                   $             250.00

           30 Rhoseine Technology                      $             250.00
           31 Wilson SZ                                $             250.00
           37 PetEden                                  $             526.01
           42 Hymar US                                 $             250.00

                 DBMBWNL品牌专卖店 (已经备案品牌 跟售将会被
           32 投诉）                                      $           1,443.58
           44 Tengleshop                               $             547.82

           35 SuHong Wen, 已备案品牌，请勿跟售，不撤销               $           1,650.33

           45 Efqwfwj                                  $             621.57
           48 TYFeiYanCSJShangMaoYXGS                  $             250.00
           49 Seallls                                  $             654.39
           58 Idohpt                                   $             982.77

           59 perfect-deals-usa                        $             291.58
           68 norio-84                                 $             604.38
          122 QTYY                                     $           52,518.57
          136 shenzhenshi beimaji                      $           21,835.06

          166 amiraabe-0                               $             250.00
          171 beach_waves                              $             250.00
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          172 beauty_land-572                              $    250.00
          174 bodiyabadanuradha                            $    250.00
          162 Shenzhenshihaikuodongshangmaoyouxiangongsi   $   6,122.64
          175 buddvis_0                                    $    250.00

          164 chongqinganu�canyinyouxiangongsi |           $    250.00
          178 Liu Junhao                                   $    250.00
          182 damdasan-73                                  $    250.00
          187 direct_mart_00                               $    250.00

          194 Forallabel                                   $    250.00
          205 inside_impression                            $    250.00
          220 matam1454                                    $    250.00
          223 mybrand_365                                  $    250.00

          225 Newbaraoutlet                                $    250.00
          227 Newnewshop                                   $    250.00
          228 no_limit_store                               $    250.00
          230 Petysthings                                  $    250.00
          234 Rizikr                                       $    250.00

          236 sammiraculousshop                            $    250.00
          237 sa�sfac�on.store                             $    250.00
          238 Shawashop                                    $    250.00
          245 thazoda-shop                                 $    250.00

           64 Theonemb                                     $    250.00
          247 top.electronics                              $    250.00
          248 top_luxury_story                             $    287.49
          254 was_eshop                                    $    250.00

          260 yoyo4533                                     $    250.00
          262 Zacklove                                     $    250.00
          263 zed deals                                    $    250.00
          183 Danlover                                     $    250.00

          196 fo�9649                                      $    250.00
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          206 insta-cart                                        $   1,899.75
          250 u1net88                                           $    250.00
          272 SQing                                             $    250.00
          274 shenzhenshihouzhaobaozhuangcailiaoyouxiangongsi   $    261.01

          275 SeaFlying                                         $   3,177.60
          276 Nicaicai                                          $   1,142.03
          282 BINCH                                             $   1,049.11
          293 Hakimroom                                         $    250.00

          317 Kangfeile PetSupplies Store                       $    250.00
